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                        EXHIBIT 02
                                          Re: Phone calls this week
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    Subject: Re: Phone calls this week
    From: Heidi Brown <heidimparis@gmail.com>
    Date: 17/04/2024 22:57
    To: Sysmic Aparis <aparis@sysmicfilms.com>

    Arnaud,

    The days for the cal.ls are at my discretion - see page 19 of the attached. Per the court order
    they would be between 6pm and 8pm. As I said in my last email, we will attempt to call you
    today and tomorrow evening. If you are unable to make that time work, please let me know.

    Separately, you should know'that the girls are thrilled to be pack in the US. They were thrilled
    to come home, and they seem more calm, happy and well-adjusted than when I first saw
    them 10 days ago.                                                 '

    I do expect that your conversation with the girls will be appropriate and upbeat. Any
    discussion of your legal machinations with the children or attempt at manipulation is
    inappropriate.

    As a reminder, you have been deemed a significant risk and because of your behavior, you
    no longer have the rights normally afforded under ORS 107.154. You no longer have the
    right to know where I live, or contact me about anything other than your allotted
,    supervised visitation and coordination of phone calls until you have met the criteria outlined
    in the Additional terms and conditions of the final custody judgment. I am attaching the
    judgment to this email for your reference.

    Separately, if you have purchased health insurance for the children, please provide that at
    your earliest convenience.

    Heidi



    On Wed, Apr 17, 2024 at 8:22AM Sysmic Aparis <.!lJ2aris@sysmicfilms.com> wrote:
     Heidi I can call at 6pm Paris time with the gjrls but you didn't call yesterday as you were
      supposed to and made me wait more than 3h.

      Please stop this insane kidnapping and surrender yourself to the police. This is extremely
      traumatizing to the children. They were literally having nightmares of you kidnapping
      them.

      Think about your relationship with them and the consequences for you as well. You're
      being searched internationally at this point.

      We can de-escalate this situation in the inter of the children if you cooperate with the
      French authorities, I'm willing to ensure that you would still be able to be connected to the
      girls in France if you surrender now and stop this crazy escape from France now.

      Arnaud

      > Le 16 avr. 2024 a 21:35, Heidi Brown <heidimparis@gmail.com> a ecrit:
      >
      >
      > Arnaud,
      >
      > I would like to set up a call for you and the kids tomorrow (Wednesday) evening at 6pm

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                                   Re: Phone calls this week
      Case 1:24-cv-00648-AA       Document 14-3            Filed 05/07/24   Page 3 of 3
' and Thursday evening at 7pm. Please confirm those times work for you.
 >
 > Heidi

-Attachments:-----------------------------

 EXHIBIT 9 -                                                                         8.4MB
 SIGNED_Limited_Judgment_Regard\ng_Custody_Parenting_Time_And_Child_
 Support_and_Money_Awards.pdf




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